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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


 To:            All Counsel of Record

 Issued By:     Judge Robert R. Summerhays

 Re:            United States of America v. Holden Matthews
                Criminal Action No. 6:19-cr-0183

 Date:          July 1, 2020


                                        MINUTE ENTRY

         The sentencing in this matter currently scheduled for July 30, 2020 is rescheduled and will

 be held on October 16, 2020 at 10:00 a.m.
